      Case 4:12-cr-00306-KGB        Document 744       Filed 01/06/15     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

v.                           Case No. 4:12-cr-00306-17 KGB

ERIC CHRISTOPHER VIRES                                                        DEFENDANT

                                          ORDER

       The government has filed two motions in limine to exclude and admit certain evidence

specific to defendant Eric Christopher Vires at the trial of this case that was scheduled for

December 15, 2014 (Dkt. Nos. 728, 730). Mr. Vires entered a guilty plea on December 15,

2014, and this case did not proceed to trial. Accordingly, the Court denies the government’s

motions in limine as moot.

       SO ORDERED this the 6th day of January, 2015.



                                                  ________________________________
                                                  Kristine G. Baker
                                                  United States District Judge
